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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                    10/19/2020
                                                                       :
SECURITIES AND EXCHANGE COMMISSION,                                    :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   19-CV-11148 (JPC)
                  -v-                                                  :
                                                                       :      NOTICE OF
NEIL R. COLE,                                                          :    REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Pursuant to the Honorable Analisa Torres’s Order dated February 19, 2020 (Dkt.

24), this action remains stayed in its entirety pending further order of this Court. The parties are

hereby ordered to file a joint letter every ninety days, apprising the court of the status of the

proceedings in United States v. Neil Cole, 19-CR-869, until the stay of this matter is lifted, with the

first status letter due on November 15, 2020.

        In accordance with the Court’s Individual Rules and Practices, requests for extensions or

adjournment may be made only by letter-motion filed on ECF and must be received at least 48

hours before the deadline or scheduled appearance, absent compelling circumstances. The written

submission must state (1) the original date(s) set for the appearance or deadline(s) and the new

date(s) requested; (2) the reason(s) for the request; (3) the number of previous requests for
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adjournment or extension; (4) whether these previous requests were granted or denied; and (5)

whether opposing counsel consents, and, if not, the reasons given by opposing counsel for refusing

to consent.



       SO ORDERED.

Dated: October 19, 2020                             __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




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